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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



DAVID J. HOWE                                    Case No. 1:19-cv-12597-NMG
       Plaintiff

v.

U.S. BANK NATIONAL ASSOCIATION,                  PLAINTIFF’S MOTION FOR
AS TRUSTEE FOR THE RMAC TRUST                    EXPEDITED DECISION ON
SERIES 2016-CTT AND                              MOTION FOR PRELIMINARY
RUSHMORE LOAN MANAGEMENT                         INJUNCTION
SERVICES, LLC
       Defendants




       Plaintiff Dave J. Howe (“Howe”), by counsel, respectfully requests that the

Honorable Court issue a decision on his Motion for a Preliminary Injunction on or before

Friday, January 17, 2020, or as soon as is practicable. As his reasons therefor, Howe

states as follows.

       A foreclosure is or will be scheduled for February 14, 2020. Though the Court

recently adopted a briefing schedule for the parties’ pending motions, Howe was recently

been informed that publication of the foreclosure advertisement will occur on January

23, January 30, and February 6, 2020 in the Sudbury Town Crier. Based on undersigned

counsel’s communications yesterday with the Sudbury Town Crier, to stop the

publication, the newspaper must be informed of a decision on Howe’s Motion for an

Injunction no later than Friday, January 17, 2020 by 4:00 p.m.

       Howe earns his livelihood in the business of residential custom home building and

remodeling. He relies heavily on his credit and his reputation in the community. As


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explained in the Expert Report of Douglas A. Minor [ECF 10-2], the reporting of Howe’s

mortgage at issue has caused him hundreds of thousands of dollars in losses because he

has had to borrow from non-traditional sources to fund his developments – and

consequently pays above-market interest rates.

        When Howe moved for an injunction in Superior Court before the action was

removed to this Court, Defendants represented (as part of the basis for Howe’s

withdrawal of his motion) that they would cancel the newspaper advertisement of the

foreclosure auction. Nevertheless, the first of three advertisements was not able to be

canceled and a foreclosure was advertised in the Sudbury Town Crier on December 19,

2019.

        Howe has resided in the property for over 20 years. He lives there with his wife,

children, and his wife’s elderly parents. If this request is not granted, Howe expects to

suffer what he considers immeasurable damages. Monetary loss “may constitute

irreparable harm where the loss threatens the very existence of the movant’s business.”

Suero v. Fed. Home Loan Mortg. Corp., 2013 U.S. Dist. LEXIS 176813 (D. Mass. Dec. 17,

2013) (quoting Hull Mun. Lighting Plant v. Mass. Mun. Wholesale Elec. Co., 399 Mass.

640, 643, 506 N.E.2d 140 (1987)). As shown in the Expert Report of Douglas A. Minor,

Howe has lost between $634,609 and $785,912 due to credit damage caused by Rushmore

related to its reporting of the property being in foreclosure. Howe has had a reduction in

credit capacity due to the reporting of the account in the amount of approximately

$88,313. Where Howe’s yearly income is approximately $175,772, the loss is three to four

times his annual income. Thus, to for there to be a foreclosure advertisement, which

would further damage his business interests, would cause even more loss.




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      WHEREFORE, plaintiff David J. Howe respectfully requests that the Court issue

a decision on his Motion for Preliminary Injunction on or before Friday, January 17, 2020.



                                         Respectfully submitted,

                                         Plaintiff,
                                         David J. Howe,
                                         By counsel,

                                         /s/ Joe Culik
                                         Josef Culik (BBO #672665)
                                         Kristin L. Thurbide (BBO #694840)
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January 15, 2020




                     LOCAL RULE 7.1(a)(2) CERTIFICATION

       I hereby certify that I attempted to confer with opposing counsel in an effort to
resolve or narrow the issues presented in this motion prior to filing.

                                         /s/ Joe Culik
                                         Josef C. Culik




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                             CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on
January 15, 2020.
                                           /s/ Joe Culik
                                           Josef Culik




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